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12                                UNITED STATES DISTRICT COURT

13                             NORTHERN DISTRICT OF CALIFORNIA

14                                    SAN FRANCISCO DIVISION

15   THE CITY AND COUNTY OF SAN                           Case No. 3:18-cv-07591-CRB
     FRANCISCO, CALIFORNIA and THE PEOPLE
16   OF THE STATE OF CALIFORNIA, Acting by                THE PEOPLE’S NOTICE OF EXHIBITS
     and through San Francisco City Attorney DAVID        ADMITTED ON JUNE 7, 2022, SUBJECT
17   CHIU,                                                TO OBJECTION

18                      Plaintiffs,                       Hon. Charles R. Breyer

19          v.

20   PURDUE PHARMA L.P., et al.

21                      Defendants.

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 1   On June 7, 2022, the following exhibits were admitted into evidence subject to objection(s):

 2
       TREX List Exhibit
 3                                                   Exhibit Description
          Number
 4                            In the Matter of the Accusation Against Pacifica Pharmacy;
     P-22216                  Thang Tran. Board of Pharmacy Case No. 3802; OAH No.
 5                            2011010644; Precedential Decision No. 2013-01
     P-28539                  SF Sample Prescription Summary - Walgreens
 6                            FR 77, No. 198: Holiday CVS, L.L.C., d/b/a CVS/ Pharmacy
     P-42147                  Nos. 219 and 5195; Decision and Order
 7
     P-08163                  Title 21 CFR 1306.04 Purpose of issue of prescription
 8
     P-21753                  FW: Consulting Proposal
 9   P-21754                  DRAFT letter re: SOM and Resume
10   P-21755                  Mike Mapes LinkedIn profile printout
     P-09112                  Internet Presentation with AmerisourceBergen
11
     P-21756                  RE: Internet Pharmacy Presentation
12                            Claimant's Request for Production of Documents to Plaintiff -
     P-21758                  Presentation RE: DEA and the 13th Pharmaceutical Industry
13                            Conference held in TX
14                            U.S. Department of Justice, DEA, Diversion Investigators
     P-27070                  Manual, letter to Robert Giacalone
15                            Chemical Handler's Manual: A Guide to Chemical Control
     P-21759                  Regulations
16   P-21760                  Walgreen Company - Cephalon (Inventory Data License Agmt)
17

18
      DATED: June 7, 2022                              Respectfully submitted,
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                                                                      PEOPLE’S NOTICE OF ADMITTED EXHIBITS
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                                                              PEOPLE’S NOTICE OF ADMITTED EXHIBITS
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